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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Norfolk Division)

DEBORAH RICHARDS                                      :
                                                      :
        Plaintiff,                                    :
                                                      :
v.                                                    :       Civil Action No.: 2:21-cv-263
                                                      :
PETSMART, INC.                                        :
                                                      :
        Defendant.                                    :

                                    NOTICE OF REMOVAL

        Defendant PETSMART, INC., (hereinafter “Defendant”) by and through counsel, hereby

give notice of removal of the above action from the Circuit Court for the City of Virginia Beach,

Virginia (“Circuit Court”), to the United States District Court for the Eastern District of Virginia,

Norfolk, pursuant to 28 U.S.C. §§ 1332(a), 1441 and 1446. As set forth below, this Court has

original diversity jurisdiction over this action pursuant to Section 28 U.S.C. § 1332.           All

requirements for removal of this action are met through the allegations contained in the pleadings

filed in the Circuit Court and in this Notice of Removal.

        In support of this Notice of Removal, Defendant states as follows:

        1. There is pending in the Circuit Court for the City of Virginia Beach, Virginia, a

Complaint styled DEBORAH RICHARDS v. PETSMART, INC. Case No. CL21-1755 (the

“State Court Action”). The Complaint in the State Court Action was filed on or about April 8,

2021. A copy of the Complaint is attached hereto as Exhibit A.

        2. Defendant received a copy of the Complaint in the State Court Action on April 15,

2021.




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       3. Defendant filed its Answer on or about May 6, 2021, in the Circuit Court for the City

of Virginia Beach, but no further proceedings have been had in the State Court Action. A copy of

the above-references responsive pleading is attached hereto as Exhibit B.

       4. This Notice of Removal is filed within thirty days of the date upon which Defendant

first received a copy of the Complaint and is therefore timely pursuant to 28 U.S.C. § 1446(b).

       5. The State Court Action is properly removed under 28 U.S.C. § 1441(a), because the

State Court Action is subject to the original jurisdiction of this Court pursuant to 28 U.S.C. §

1332, as explained below.

       6. Defendant is informed and believe that Plaintiff, Deborah Richards, is an individual

residing in and a citizen of the Commonwealth of Virginia.

       7. Defendant PetSmart, Inc. is incorporated under the laws of the State of Delaware with

its principal places of business in Phoenix, Arizona.

       8. Plaintiff’s Complaint seeks damages from Defendant in the amount of $400,000.

       9. This action is properly removed on grounds of diversity jurisdiction because (a)

complete diversity of citizenship exists between Plaintiff and Defendant, and (b) the amount in

controversy herein exceeds the sum or value of $75,000, exclusive of interest and costs.

       10. Written notice of the filing of this Notice of Removal will promptly be given to

plaintiff and the Clerk of the Circuit Court for the City of Virginia Beach, Virginia, as required

by 28 U.S.C. § 1446(d).

       WHEREFORE, Defendant PETSMART, INC., respectfully request that this case proceed

before this Court as an action properly removed.




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                                        _________/s/______________
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing Notice of Removal
was mailed, first class, postage prepaid, this 11th day of May, 2021, to

      Manolita A. Holadia, Esq.
      JOYNES & GADIES
      502 Viking Drive, Suite 201
      Virginia Beach, VA 23452
      Counsel for Plaintiff


                                        _________/s/______________
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